        Case No. 1:21-cv-01997-NYW-KAS Document 113-3 filed 12/01/23 USDC Colorado pg 1
12/1/23, 5:10 PM                               of &2Henry, P.C. Mail - Re: Deposition
                                         Robinson
                                                                                                                 Exhibit C
                                                                                     Joyce Vigil <joyce@robinsonandhenry.com>



  Re: Deposition
  1 message

  Yah Is Real <ashaleyreneemcd@gmail.com>                                              Wed, Nov 15, 2023 at 11:10 AM
  To: Joyce Vigil <joyce@robinsonandhenry.com>
  Cc: Eric Neeper <eric@robinsonandhenry.com>, Momma T <mommat2real@gmail.com>, Raven Velasquez
  <raven.velasquez@robinsonandhenry.com>, Victoria Edwards <victoria.edwards@robinsonandhenry.com>

    Thank you for the information. I will contact the court directly with the circumstances that have arisen since the November
    7th hearing, Tonya’s health is rapidly declining at this moment and she may not be alive to prosecute her own claims at
    this point. We are currently discussing hospice with the doctors and feeding tubes as she is not eating. She has been
    diagnosed with stomach cancer that has spread to her liver and the bones in her back, she highly medicated and on
    oxygen. I did not want to divulge her personal business but the way things are going she may not live to prosecute this
    case in the first place. Enter whatever motion you would like and I will follow suit and reply with extenuating
    circumstances. But there is no way she is making it to her deposition tomorrow. Thank you so much.

    On Wed, Nov 15, 2023 at 10:59 AM Joyce Vigil <joyce@robinsonandhenry.com> wrote:
     Dear Ashley,

       I am writing on behalf of Ms. Edwards.

       This email is in response to your email and is intended for both you and Tonya McDaniel (as I am not sure she is
       receiving or responding to emails on her own behalf.) We made a record of your non-appearance of today's deposition
       and will be notifying the Court of the same. Please also note we will be requesting leave to file a motion to dismiss your
       case and seek fees and costs for preparing for your deposition.

       With respect to Tonya McDaniels, we expect to see her for her deposition tomorrow morning, as we properly notified
       her of her deposition, and you confirmed with the judge at the November 7 status conference that she would be in
       attendance for her deposition this week.

       NRC expended much in terms of fees and costs to pay Robinson & Henry to prepare for your deposition and your
       mother's deposition. Barring any exceptional circumstances and proof of the same, tomorrow's deposition will move
       forward and we will inform the court should Tonya fail to appear.

       Finally, you mentioned below that your Mother is not in a state to testify. If this is the case, Tonya should immediately
       voluntarily dismiss her claims in the lawsuit, because she is obligated to prosecute this matter on her own behalf until
       when and if counsel is appointed. The Judge also advised Tonya of such concerns, so I do hope she strongly
       considers this option.

       Please let us know if you have any questions.

       Kind Regards,

       Joyce

       On Wed, Nov 15, 2023 at 10:32 AM Yah Is Real <ashaleyreneemcd@gmail.com> wrote:
        Hello, thank you for the phone call, however as we spoke about we need to reschedule. Neither of us can attend to
        today due to Tonya being admitted to the hospital. Thank you so much for understanding. We can reschedule for the
        near future for myself Ashley McDaniel, but I’m not sure if Tonya will be in a state to testify in the state she is currently
        in. Thank you.

         On Wed, Nov 15, 2023 at 9:53 AM Joyce Vigil <joyce@robinsonandhenry.com> wrote:
          Ashley and Tonya,

            Good morning. I wanted to let you know that we are waiting for you here at the Highlands Ranch Office for
            your deposition. Would you please respond to this email and let us know if you and Tonya plan to attend.

            Best Regards,

https://mail.google.com/mail/u/0/?ik=b882ec2243&view=pt&search=all&permthid=thread-a:r-1389697393186619562%7Cmsg-f:17826545478842841…   1/2
        Case No. 1:21-cv-01997-NYW-KAS Document 113-3 filed 12/01/23 USDC Colorado pg 2
12/1/23, 5:10 PM                               of &2Henry, P.C. Mail - Re: Deposition
                                         Robinson
             Joyce                                                                                                                            Exhibit C
             --
             Joyce M. Vigil
             Civil Litigation Senior Paralegal | Robinson & Henry, P.C.
             Main: (303) 688-0944 | Direct: (720) 458-4125
             Fax: (303) 470-0620
             Email: Joyce@RobinsonAndHenry.com
             RobinsonAndHenry.com

             Highlands Ranch
             1805 Shea Center Drive, Suite 180 | Highlands Ranch, CO 80129

             Customer Service Issue:
             Please email CustomerService@RobinsonAndHenry.com detailing the facts of your issue, we will respond within 24 hrs.

             Confidential:
             This transmission contains confidential and/or privileged information intended only for the use of the individual(s) named. If you are not the intended
             recipient you are hereby notified that any disclosure, copying, distribution or the taking of any action in reliance on the contents of this transmission is
             strictly prohibited. If you have received this transmission in error, please notify us by telephone immediately at (303) 688-0944 so that we can
             arrange for the return of the documents to us at no cost to you.



       --
       Joyce M. Vigil
       Civil Litigation Senior Paralegal | Robinson & Henry, P.C.
       Main: (303) 688-0944 | Direct: (720) 458-4125
       Fax: (303) 470-0620
       Email: Joyce@RobinsonAndHenry.com
       RobinsonAndHenry.com

       Highlands Ranch
       1805 Shea Center Drive, Suite 180 | Highlands Ranch, CO 80129

       Customer Service Issue:
       Please email CustomerService@RobinsonAndHenry.com detailing the facts of your issue, we will respond within 24 hrs.

       Confidential:
       This transmission contains confidential and/or privileged information intended only for the use of the individual(s) named. If you are not the intended
       recipient you are hereby notified that any disclosure, copying, distribution or the taking of any action in reliance on the contents of this transmission is
       strictly prohibited. If you have received this transmission in error, please notify us by telephone immediately at (303) 688-0944 so that we can arrange for
       the return of the documents to us at no cost to you.




https://mail.google.com/mail/u/0/?ik=b882ec2243&view=pt&search=all&permthid=thread-a:r-1389697393186619562%7Cmsg-f:17826545478842841…                                       2/2
